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         6
                                        UNITED STATES DISTm CT COURT
         7
                                                DISTRICT OF NEVADA
         8
              UNITED STATES OF AMERICA,                       )
         9                                                    )
                                   Plaintiff,                 )
        10                                                    )
                    v.                                        )           2:11-CR-057-LDG (CW H)
        11                                                    )
           NoE coxTRERxs,                                     )
        12 akaPrimillo,                                       )
                                                              )
        13                         Defendant.                 )
        14                                FINAL ORDER OF FORFEITURE
        15          On November28,20l1,theUnited StatesDistrid CourtfortheDistrid ofNevadaentertd
        16 aPrelim inary OrderofForfeiture pursuanttoFed.R.Crim . P.32.2(b)(1)and(2);Title21,United

        17 StatesCode,Secticm 853(a)(l)and(a)(2);Title1s,UnitedStatesCode,Section924(d)(1),(2)(C),
        18 and(3)(B)andTitle28,UnitedStalesCode,Section2461(c);Thle21,UnitedStatesCode,Section
        19 881(a)(l1)and Title 28,United StatesCode,Section 2461(c),based upon the pleaofguiltyby
        20 defendantN OE CONTRERAS,aka Prim illo,to a criminaloffense,forfeiting specific property
        21 alleged in theCriminalIndictm entandagreedto in thePleaM em orandum and shownbytheUnited

        22 States to have the requisite nexusto the offense to which defendantNOE CONTREILAS, aka
        23 Primillo,pled guilty. Docket#8, #102,#103,//110.

i       24          This Courtfinds the United Statesof Am erica published the notice ofthe forfeiture in
!
@       25 accordance w ith the 1aw via the ofticialgovernm entinternetforfeittlre site,w w wvforfeittlre.gov,

        26 consecutivelyfrom Decem berl,201l,throughDecember30, 20ll,notifyingallthirdpartiesoftheir
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  1 rightto petition the Court.//123.

 2          n isCourtIindsno petition wasfiled herein by oron behalfofany person orentity and the
 3 time forfiling such petitionsand claim shasexpired.
 4          ThisCoultfindsnopetitionsarependingwithregardtotheassetsnam edhereinandthetime

 5 forpresenting such petitionshasexpired.
 6          THEREFORE,IT IS HEREBY ORDEREDSADJUDGED,AND DECREED thatallright,
 7 title,and interestin the property hereinafterdescribed iscondem ned, forfeited,and vested in the

 8 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
 9 32.2(c)(2);Title21,UnitedStatesCode,Section853(a)(1)and(a)(2);Title18,UnitedStatesCode,
10 Section924(d)(1),(2)(C),and (3)(B)andTitle28,United StatesCode,Section2461(c);Title21,
11 UnitedStatesCodesSection881(a)(l1)andTitle28,UnitedStatesCode,Section2461(c);andTitle
12 21,UnitedStatesCode,Section853(n)(7)andsballbedisposedofaccordingto law:
13          (a)    2009DodgeChallengerR/T,Vm 2831.J54T1914503073;
14          (b)    2008ChevroletTahoeLTZ,Vm 1ONFC13J28Rl94198;
15          (c)    2007ChevroletSilverado2500LTZ,VIN 16C14K2363717566766.
                                                                        ,
16          (d)    2006DodgeRam 1500SRT-IOTruck,Vm 3D714A1814866152490;
17          (e)    2005Kenworth -
                                1-600ExtendedDayCabAeroMotorTruckTractor,Vm
18                 1XKADB9X 85J071120;

19          (9     1999 W ilsonCommercialFlatbedTrailer,Vm 4W W BGB6BXXM 6O2298;
20          (g)    Smithand W esson,.40caliberautomatichandgun,Serial#11.
                                                                        CA8728)
21          (h)    Colt.45caliberautomatichandgun,Serial# 70N04624;
22          (i)    $38,980.00inUnitedStatescurrency;and
23          (j)    anyandallammunitionCpropertf).
24          IT IS FU RTH ER O RDERED ,A D JUD G ED , AN D DECREED thatany and a11forfeited

25 funds,including butnotlim ited to,currency,currency equivalents,certificatesofdeposit, as well
26 asany incom ederived asa resultoftheUnited StatesofAm erica'sm anagem entofany property
                 Case 2:11-cr-00057-LDG-DJA         Document 139     Filed 03/09/12        Page 3 of 3


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w
         1 forfeited herein,and the proceeds from the sale ofany forfeited property shallbe disposed of
         2 accordingto law .

         3          TheClerk ishereby directed to send copiesofthisOrderto al1counselofrecord and three
        4    certified copiesto theUnited StatesAttorney'sOflice.
                                                                                                   '-
         5          DA TED this    1 dayof                 C        2012. zz-x /   ,
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                                                                                               s



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                                                       UNIT D TATE DIS RIC JUDGE
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